\COO\lO\Ul-PL)JN)-\

K\JNNNNN!\)N[\J)-‘)-»)-‘»-¢)-¢)-¢»-a»-a»-a>_a
OO\IO\Ul-bb.>[\)*-‘O\OOO\IO\U\-bwl\>-*O

oo(n

-SV\/v-SH DocumentZSS-1 Filed12/10/1U
#:3473

age 1 0f2 age |D

Michael A. Garabed (SBN 223 51 1)
mgarabed@reedsmith.com

vvv-'S'H Documem 234 Filed12/14/10 F>agelofz Pa elD #:3475

 

Tamgra M. Rowles (SBN 228940) “ ‘
Emall: trowles reedsmith.com / -
REED SMITH LP C

355 South Grand Avenue, Suite 2900 -

 

 

 

 

 

 

 

 

 

 

 

Los Angeles, CA 90071-1514 V
Telephone: 213 457-8000 men
Facslmile; 213 457_8()80 cL£RK,u.s.msrchcouRT
William Ross Overend SBN 180209
Email: woverend reed(smith.com ) DEC l a mm
REED SMITH L
101 Secon_d Street _Suit¢ 1800 LENTRALo mucrorcAuFoRmA
San Franclsco, Cailfornla 94105-3659 BY Jv-L'/ DEPUTY
Telephone: 415 543-8700
Facslmile: 415 391-8269

P~ -
Gregory J. Vogler (pro hac vi§e) sg,?j" \`_
Emall: §\vc)§ler@mcandrews-lp.com E,,,er \
Robe;rt . urrette (pro hac vic_e) Closed \
Emall: bsurrette mcandrews-l .com ig.§/JS \
MCANDREWS, ELD & M LOY, LTD. 13_2/,5_`36 <
500 West Madl_Son Street, 34th Floor Scan 0,,, \
Chlca 0, Illmols 60661 y\

Facslmile: 312 775-8100

Attorne s for Defendant
STR R CORPORATION

Telep one: §312; 775-8000

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

TRIMED, INC.
a California corporation,
_ _ Case No. CV~06~1918
Plalntlff,
b ER FOR
v. UNTAR DISMISSAL OF
ACTION
STR_YKER CORP, _
a Mlchigan corporatlon,
Hon. Stephen V. Wilson
Defendant.

 

 

 

 

PROPOSED ORDER FOR VOLUNTARY DISMISSAL OF ACTION,
ACTION NO. CV-06-l918

 

`Case 2:06-cv-01918-SVW¥Sl-| Document 234 Filed 12/14/10' Page 2 of 2 Page |D #:3476

NNNNNNNNN)-‘)-v-»h-»»-~>-)>-\>-»-»,_a
OO\IO\LAPWN*_‘C\QOO\lO\K/l-BL»JN*_‘O

\DOO\}O\U!'-I>L)J[\)»-a

 

 

Case 2:06-cv-O1918-SVW -SH Document 233-1 Filed 12/10/10 Page 2 of 2 Page lD
#:3474

Pursuant to the parties' Stipulation, and good cause appearing:

IT IS HEREBY ORDERED that:

Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, the above-
captioned action, including all claims and counterclaims, is dismissed WITH

PREJUDICE. Each party shall bear its own attorneys' fees and costs.

 
 

IT IS SO ORDERED.
Dated: December/J, 2010 By
I’ . '
"Ilie Honora - S eph ilson
cv06-1918(st) _ l _

PROPOSED ORDER FOR VOLUNTARY DISMISSAL OF ACTION,
ACTION NO. CV-06-l918

 

